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Kathy Simmons, RN, BSN
PO Box 450

Ingram, TX 78025
kathy@simmons.net
210.827.5538

January 4, 2024

Hon. William G. Young

United States District Judge
United States Federal Courthouse
1 Courthouse Way

Boston, MA 02210

Re: Sentencing Support for Matthew Jordan ‘Matty’ Lindner
Dear Judge Young,

I hope this letter finds you in good health. | am writing to provide insight into the character of
Matty Lindner, a person | have had the privilege of knowing as a close friend for a significant
portion of our lives. | believe that understanding Matty's character will shed light on the person
beyond the circumstances that have led to this point in court.

| have known Matty since 1995, and throughout our friendship, | have consistently witnessed
qualities that distinguish him as a thoughtful, generous, and considerate individual. These
characteristics are not merely superficial; they are deeply rooted in his core values and guide
his actions in all aspects of life.

Matty has consistently demonstrated thoughtfulness in his interactions with others. Whether it
be lending a listening ear during difficult times, offering a helping hand to those in need, or
simply being there for his friends and family, Matty's thoughtful nature has left a lasting impact
on everyone fortunate enough to know him. He is not one to pass judgment hastily, always
considering the perspectives and feelings of those around him.

Generosity is another hallmark of Matty's character. From sharing his time and resources to
contributing to charitable causes, Matty embodies the spirit of giving. His generosity extends
beyond material possessions; he willingly invests in the well-being of others, fostering a sense
of community and support among those who know him.

In addition to being thoughtful and generous, Matty is inherently considerate of others. He
consistently displays empathy and understanding, making an effort to ensure that those around
him feel valued and heard. Matty's considerate nature has undoubtedly contributed to the
positive relationships he has built with friends, family, and colleagues over the years.

It is with the utmost sincerity that | attest to Matty Lindner's character and the positive impact
he has had on the lives of those around him. While | understand the gravity of the situation at
hand, | urge the court to consider the entirety of Matty's character and the positive
contributions he has made to our community.

Thank you-for youritime and consideration.

